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FORM 6(NO/SD Mtss. DEC, 2016)



                                  I 1Nm;n �TATES DISTRICT COURT
                                SOUTHERN DISTRICTOF MISSISSIPPI



Republican National Committee et al Plaintiff

 V.                                                             CIVIL ACTION                24-cv-25-LG-RPM
                                                                NO.


Justin Wetzel, et al.
                                         Defendant

                        APPLICATION FOR ADMISSION PRO HAC VICE

                                  Eric W. Lee
  (A)    Name:
                                  Judicial Watch, Inc.
          Firm Name:

                                  425 Third Street, S.W. Suite 800
          Office Address:
                                  Washington                                 D.C.                20024
         City:                                                       State                 Zip
                                  202-646-0008                              202-646-5199
         Telephone:                                                  Fax:
                                  elee@judicialwatch .org
         E-Mail:


                                  Libertarian Party of Mississippi
 (B)     Clien t(s):
                                  1625 E. County Line Road
         Address:
                                 Jackson           MS       39211
         City:                   ___________ State ____ Zip ____
                                 202-646-0008    202-646-5199
         Telephone:              __________ Fax: __________


         The following infonnation is optional:


                                                     1
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